The plaintiff in error, Will Morris, was convicted at the May, 1913, term of the district court of Sequoyah county on a charge of manslaughter and his punishment fixed at imprisonment in the state penitentiary for a period of seven years. The appeal was filed in this court on the 12th day of November, 1913. On the 6th day of November, 1914, counsel for plaintiff in error filed the following motion to dismiss the appeal: "Comes now Will Morris, the above named plaintiff in error, by his attorneys, Curtis  Pitchford and E.M. Frye, and states to the court that he desires to withdraw his appeal herein, and requests the court to dismiss the same and enter its order placing the sentence and judgment of the lower court into effect at once, in order that he may immediately begin serving his sentence. Wherefore, premises considered, petitioner prays an order of this court dismissing his appeal herein, and directing that the judgment and sentence of the court below become immediately effective."
The motion is sustained and the appeal dismissed. The clerk is directed to issue mandate forthwith.